344 F.2d 328
    FIDELITY SHIPPING COMPANY, Ltd., Appellant,v.William ERICKSON and W. J. Jones &amp; Son, Inc., Appellees.FIDELITY SHIPPING COMPANY, Ltd., Appellant,v.Eugene BENNETT and W. J. Jones &amp; Son, Inc., Appellees.
    Nos. 19791, 19792.
    United States Court of Appeals Ninth Circuit.
    April 12, 1965, Rehearing Denied May 20, 1965.
    
      Erskine B. Wood, John R. Brooke, Wood, Wood, Tatum, Mosser &amp; Brooke, Portland, Or., for appellant.
      Philip Levin, Pozzi, Levin &amp; Wilson, Dennis J. Lindsay, Garry P. McMurry, Krause, Lindsay &amp; Nahstoll, Portland, Or., for appellees.
      Before ORR, MERRILL and BROWNING, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellees Erickson and Bennett are longshoremen who were injured by a falling boom aboard the Steamship Alexandria.  Erickson and Bennett each filed a libel against the vessel and its owner, appellant Fidelity Shipping Company, alleging that their injuries were the proximate result of unseaworthiness of the Alexandria.  Appellant impleaded appellee stevedoring company, W. J. Jones &amp; Son, employer of Erickson and Bennett, claiming a right to indmenity due to an alleged failure to perform stevedoring services in a safe, proper, and workmanlike manner.  Trial was had and the trial judge found that the appellees were injured as a proximate result of the unseaworthiness of the Alexandria.  Specifically, the supply of steam was found to be inadequate to properly operate the boom and the brake inadequate to prevent the boom from falling.  He also found in favor of W. J. Jones &amp; Son on the third-party indemnity claim.  He found no failure on the part of W. J. Jones &amp; Son or its employees to perform the stevedoring services here in a safe, proper, and workmanlike manner.
    
    
      2
      We have examined the record in this case and find substantial evidence to support each of the above findings.
    
    
      3
      Appellant contends that the amount of damages awarded to Erickson was excessive.  Our examination of the record convinces us that there is no merit to this contention.
    
    
      4
      Affirmed.
    
    